19-01111-scc     Doc 15      Filed 05/10/19    Entered 05/10/19 10:33:57     Main Document
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   May 10, 2019

   VIA ECF ONLY
   Greg White, Courtroom Deputy
   Hon. Shelley C. Chapman Chambers
   United States Bankruptcy Court
   Southern District of New York
   Courtroom 623
   One Bowling Green
   New York, NY 10004-1408

   Re: In Sook Sterling, Chapter 7 Case No.: 18-33458 JKS
       Strategic Funding Source, Inc. v. In Sook Sterling, et als.
       Adv. Proc. No.: 19-01111-scc


   Dear Mr. White:

       This is to confirm that the pre-trial conference scheduled in the above matter for
   5/23/19 at 10:00 a.m. is now adjourned to Wednesday, 6/19/2019 at 10:00 a.m.

       Thank you.

   Very truly yours,

   KOPELMAN & KOPELMAN LLP
   /s/ Michael S. Kopelman
   Michael S. Kopelman
   MSK/es


   cc: via e-mail: Charles Rubio, Esq.; Michael S. Horn, Esq.
